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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

 VALENCIA COLON,

       Plaintiff,

 vs.
                                                              CASE NO.: 1:21-cv-149
 RICHARD ROUNDTREE, HARDIE
 DAVIS, WILLIAM FENNOY, DENNIS
 WILLIAMS, MARY DAVIS, SAMMIE
 SIAS, BOBBY WILLIAMS, BEN HASAN,
 SEAN FRANTOM, BRANDON GARRETT,
 MARION WILLIAMS, JOHN CLARKE,
 ODIE DONALD II, MAURICE
 MCDOWELL, CHARLIE T. WALKER,
 JOHN DOES 1-5, and ABC CORP 1-5,

       Defendants.

                                   _______________________

                                   JOINT STATUS REPORT
                                   _______________________

1.       Do the parties agree mediation should be attempted prior to summary judgment
         motions, and all deadlines stayed for this purpose?
               ☐ YES                         ☒ NO

2.       If the parties answered yes to question 1, do the parties prefer (a) a private mediator; or
         (b) a magistrate or bankruptcy judge?
                 ☐ Private Mediator           ☐ Magistrate or Bankruptcy Judge

3.       If the parties prefer a private mediator, specify a date-certain deadline for mediation to
         be completed and the stay lifted. From that date, summary judgment motions will be
         due in thirty days.

         N/A

4.       If the parties prefer a magistrate or bankruptcy judge as mediator, list two dates within
         the next six weeks when all parties and their authorized representatives are available
         for mediation.

         N/A

         This 23rd day of May, 2022.
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/s/Tameka Haynes__________              /s/J. Wickliffe Cauthorn
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